                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


UNITED STATES OF AMERICA,                            )
                                                     )
                 Plaintiff,                          )
                                                     )
v.                                                   )      No. 3:05-CR-96
                                                     )      (JORDAN/GUYTON)
ANNE A. STIFFLER,                                    )
                                                     )
                 Defendant.                          )


                   AMENDED ORDER OF DETENTION PENDING TRIAL

                 The defendant, Anne A. Stiffler, appeared before the undersigned on August 19,

2005, waived her right to a detention hearing [Doc. 12], and agreed to detention. Accordingly,

the Court ordered [Doc. 13] that the defendant be detained without bond pending trial. The

Court also ordered [Doc. 13] that the defendant be confined in the Knox County Penal Farm

Facility and be held in Pod 6 (the medical ward) for the first seven days of her confinement at

that facility.

        On September 21, 2005, the defendant appeared before the undersigned for a motion

hearing. She was represented by Attorney Bruce Poston, and the government was represented by

Assistant United States Attorney David Jennings. Attorney Poston alerted the Court that the

defendant was still being housed in the medical ward at Knox County some thirty days after she

began her detention there. He contended that the medical need for the defendant’s stay in the

medical ward had now passed and asked that the Court order that she be returned to the general

population. The government did not oppose this request.


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        Accordingly, the Court finds that the defendant no longer needs to be housed in Pod 6

(the medical ward) of the Knox County Penal Farm. The Court AMENDS its earlier detention

order [Doc. 13] by removing the requirement that the defendant be housed in Pod 6 (the medical

ward), which requirement has already expired under the original order, unless and until the

defendant experiences medical problems necessitating her confinement there. All other portions

of the detention order shall remain the same and continue in full force and effect as if stated in

full herein.

               IT IS SO ORDERED.

                                                      ENTER:


                                                            s/ H. Bruce Guyton
                                                      United States Magistrate Judge




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